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                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                              TAMPA DIVISION
        In re:

        STAYSAVER VACATIONS LLC,                                             Chapter 11

                                                                             Case No. 8:22-bk-00192-CPM

                   Debtor.

        ________________________________________/

         CREDITOR WYNDHAM VACATION RESORTS, INC.'S MOTION FOR DEBTOR TO
                   CONVERT CASE FROM CHAPTER 11 TO CHAPTER 7

                   Creditor Wyndham Vacation Resorts, Inc. (“Wyndham”), through undersigned counsel,

        hereby files this Motion for Debtor to Convert Case from Chapter 11 to Chapter 7 (the

        "Motion"). In support of its Motion, states as follows:

             1) After hearings before this Court and the commencement of the Section 341(a) creditors’

                   meeting, on February 16, 2022, the Debtor filed its third amended Bankruptcy Schedules

                   A-J (DE 52) and third amended Statement of Financial Affairs (DE 51). These filings

                   alone justify the appointment of an independent fiduciary to investigate and recommend

                   legal courses of action. In an audacious move, the Debtor deleted at question 30 on the

                   February 16 SOFA the previously listed payments to insiders on the February 8 SOFA

                   totaling almost $900,000 (DE 35). The Debtor also has not listed the apparent transfer of

                   most of its accounts receivables to its subsidiaries, its affiliates, and/or certain factors.

             2) The Debtor’s ownership structure is as follows:

                           The Debtor is owned by StaySaver Vacation Group LLC, which is a dual-
                           member LLC, owned equally by KSJ Manage II LLC and JLB Club Holdings.
                           JLB Club Holdings is beneficially owned by Jose Martinez, Larry Biondi, and
                           JettCap Management LLC, which is beneficially owned by Anthony Polvino.

             3) Wyndham understands that Mr. Polvino was a partner of the law firm of Taylor English

                   Duma LLP when payments of more than $500,000 were paid to that law firm between

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                   January 18, 2021 and January 17, 2022. Mr. Polvino also was an active participant in the

                   affairs of the Debtor, some of which were in a business capacity. Wyndham further

                   understands that Mr. Jose Martinez is an owner of Grand Incentives, which has the same

                   address as the Debtor.      The February 8, 2022 SOFA states at question 30.1 under

                   “Relationship to debtor” the following: “Interlocking officers/directors.”

             4) In addition, approximately $4 million in account receivables purportedly sold to factors

                   were removed from Amended Schedule A at Part 3, question 11 and those factors were

                   removed as secured creditors on Schedule D, but the Debtor added Grand Incentives and

                   Jettcap and SSV Club Management LLC, another entity owned by an insider, as secured

                   creditors in certain described intangible assets. Questions 2.2, 2.3, and 2.5 with claims

                   totaling about $2.6 million.

             5) Per the admissions at the creditors meeting, the Debtor does not have any business to

                   reorganize and this chapter 11 simply appears to be an effort to use the bankruptcy

                   process to liquidate the collection of account receivables allegedly pledged and/or sold to

                   third party factors and affiliates of insiders.

             6) Wyndham reserves the right to assert additional basis for conversion of this case.



        Dated: February 17, 2022.                              Respectfully submitted,


                                                               /s/ Mark J. Wolfson
                                                               Kevin A. Reck (FBN 0505552)
                                                               FOLEY & LARDNER LLP
                                                               301 East Pine Street, Suite 1200
                                                               Orlando, Florida 32801
                                                               (407) 423-7656 (telephone)
                                                               (407) 648-1743 (facsimile)
                                                               Primary email: kreck@foley.com
                                                               Secondary email: bshelley@foley.com

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                                                Mark J. Wolfson (FBN 0352756)
                                                FOLEY & LARDER LLP
                                                100 North Tampa Street, Suite 2700
                                                Tampa, FL 33602
                                                (813) 225-4119 (telephone)
                                                (813) 221-4210 (facsimile)
                                                Primary email: mwolfson@foley.com
                                                Secondary email: crowell@foley.com


                                             Counsel for Wyndham Vacation Resorts, Inc.




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                                       CERTIFICATE OF SERVICE

                   I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed and

        served this 17th day of February, 2022 via the CM-ECF filing system which will send email

        notification to those registered recipients.



                                                          /s/ Mark J. Wolfson
                                                          Attorney




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